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AF Approval [ Chief Approval (6A

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION
UNITED STATES OF AMERICA
v. CASE NO. 6:20-cr-80-Orl-37DCI
JAKELINE LUMUCSO
PLEA AGREEMENT |
Pursuant to Fed. R. Crim. P. 11(c), the United States of America, by
Maria Chapa Lopez, United States Attorney for the Middle District of
Florida, and the defendant, JAKELINE LUMUCSO, and the attorney for the
defendant, David L. Haas, Esquire, mutually agree as follows:

A.  Particularized Terms

1. Count Pleading To
The defendant shall enter a plea of guilty to Count One of the
Indictment. Count One charges the defendant with conspiracy to defraud the
United States with respect to claims, in violation of 18 U.S.C. § 286.
2. Maximum Penalties | |
Count One carries a maximum sentence of 10 years’
imprisonment, a fine of not more than $250,000, or twice the gross gain
caused by the offense, or twice the gross loss caused by the offense, whichever

is greater, a term of supervised release of not more than 3 years, and a special

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assessment of $100 per felony count for individuals. With respect to certain
offenses, the Court shall order the defendant to make restitution to any victim
of the offense, and with respect to other offenses, the Court may order the
defendant to make restitution to any victim of the offense, or to the
community, as set forth below.

3. Elements of the Offense

The defendant acknowledges understanding the nature and

elements of the offense with which defendant has been charged and to which
defendant is pleading guilty. The elements of Count One are:

First: Two or more people in some way agreed to
try to accomplish a shared and unlawful plan;

Second: The defendant knew the unlawful purpose of
the plan and willfully joined in it; and

Third: The plan was to defraud the government by
obtaining the payment or allowance of a

claim based on a false or fraudulent material
fact.

4, No Further Charges
If the Court accepts this plea agreement, the United States
Attorney's Office for the Middle District of Florida agrees not to charge
defendant with committing any other federal criminal offenses known to the
United States Attorney's Office at the time of the execution of this agreement,

related to the conduct giving rise to this plea agreement.

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5. Mandatory Restitution to Victim of Offense of Conviction

Pursuant to 18 U.S.C. § 3663A(a) and (b), defendant agrees to
make full restitution to US. Department of the Treasury, Internal Revenue
Service.

6. Acceptance of Responsibility - Three Levels

At the time of sentencing, and in the event that no adverse
information is received suggesting such a recommendation to be unwarranted,
the United States will recommend to the Court that the defendant receive a
two-level downward adjustment for acceptance of responsibility, pursuant to
USSG §3E1.1(a). The defendant understands that this recommendation or
request is not binding on the Court, and if not accepted by the Court, the
defendant will not be allowed to withdraw from the plea.

Further, at the time of sentencing, if the defendant's offense level
prior to operation of subsection (a) is level 16 or greater, and if the defendant
complies with the provisions of USSG §3E1.1(b) and all terms of this plea
agreement, including, but not limited to, the timely submission of the financial
affidavit referenced in Paragraph B.5., the United States agrees to file a motion
pursuant to USSG §3E1.1(b) for a downward adjustment of one additional
level. The defendant understands that the determination as to whether the

defendant has qualified for a downward adjustment of a third level for

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acceptance of responsibility rests solely with the United States Attorney for the
Middle District of Florida, and the defendant agrees that the defendant cannot
and will not challenge that determination, whether by appeal, collateral attack,
or otherwise.

7. Low End

At the time of sentencing, and in the event that no adverse

information is received suggesting such a recommendation to be unwarranted,
the United States will recommend to the Court that the defendant receive a
sentence at the low end of the applicable guideline range, as calculated by the
Court. The defendant understands that this recommendation or request is not
binding on the Court, and if not accepted by the Court, the defendant will not
be allowed to withdraw from the plea.

8. Cooperation - Substantial Assistance to be Considered

Defendant agrees to cooperate fully with the United States in the
investigation and prosecution of other persons, and to testify, subject to a
prosecution for perjury or making a false statement, fully and truthfully before
any federal court proceeding or federal grand jury in connection with the
charges in this case and other matters, such cooperation to further include a
full and complete disclosure of all relevant information, including production

of any and all books, papers, documents, and other objects in defendant's

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possession or control, and to be reasonably available for interviews which the
United States may require. If the cooperation is completed prior to
sentencing, the government agrees to consider whether such cooperation
qualifies as "substantial assistance" in accordance with the policy of the United
States Attorney for the Middle District of Florida, warranting the filing of a
motion at the time of sentencing recommending (1) a downward departure
from the applicable guideline range pursuant to USSG §5K1.1, or (2) the
imposition of a sentence below a statutory minimum, if any, pursuant to 18
U.S.C. § 3553(e), or B) both. If the cooperation is completed subsequent to
sentencing, the government agrees to consider whether such cooperation
qualifies as "substantial assistance" in accordance with the policy of the United
States Attorney for the Middle District of Florida, warranting the filing of a
motion for a reduction of sentence within one year of the imposition of
sentence pursuant to Fed. R. Crim. P. 35(b). In any case, the defendant
understands that the determination as to whether "substantial assistance" has
been provided or what type of motion related thereto will be filed, if any, rests
solely with the United States Attorney for the Middle District of Florida, and
the defendant agrees that defendant cannot and will not challenge that

determination, whether by appeal, collateral attack, or otherwise.

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9. Use of Information - Section 1B1.8

Pursuant to USSG §1B1.8(a), the United States agrees that no
self-incriminating information which the defendant may provide during the
course of defendant's cooperation and pursuant to this agreement shall be used
in determining the applicable sentencing guideline range, subject to the
restrictions and limitations set forth in USSG §1B1.8(b).

10. Cooperation - Responsibilities of Parties

a. The government will make known to the Court and other
relevant authorities the nature and extent of defendant's cooperation and any
other mitigating circumstances indicative of the defendant's rehabilitative
intent by assuming the fundamental civic duty of reporting crime. However,
the defendant understands that the government can make no representation
that the Court will impose a lesser sentence solely on account of, or in
consideration of, such cooperation.

b. It is understood that should the defendant knowingly
provide incomplete or untruthful testimony, statements, or information
pursuant to this agreement, or should the defendant falsely implicate or
incriminate any person, or should the defendant fail to voluntarily and

unreservedly disclose and provide full, complete, truthful, and honest

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knowledge, information, and cooperation regarding any of the matters noted
herein, the following conditions shall apply:

(1) The defendant may be prosecuted for any perjury or
false declarations, if any, committed while testifying pursuant to this
agreement, or for obstruction of justice.

(2) The United States may prosecute the defendant for
the charges which are to be dismissed pursuant to this agreement, if any, and
may either seek reinstatement of or refile such charges and prosecute the
defendant thereon in the event such charges have been dismissed pursuant to
this agreement. With regard to such charges, if any, which have been
dismissed, the defendant, being fully aware of the nature of all such charges
now pending in the instant case, and being further aware of defendant's rights,
as to all felony charges pending in such cases (those offenses punishable by
imprisonment for a term of over one year), to not be held to answer to said
felony charges unless on a presentment or indictment of a grand jury, and
further being aware that all such felony charges in the instant case have
heretofore properly been returned by the indictment of a grand jury, does
hereby agree to reinstatement of such charges by recision of any order
dismissing them or, alternatively, does hereby waive, in open court,

prosecution by indictment and consents that the United States may proceed by

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information instead of by indictment with regard to any felony charges which
may be dismissed in the instant case, pursuant to this plea agreement, and the
defendant further agrees to waive the statute of limitations and any speedy
trial claims on such charges.

(3) The United States may prosecute the defendant for
any offenses set forth herein, if any, the prosecution of which in accordance
with this agreement, the United States agrees to forego, and the defendant
agrees to waive the statute of limitations and any speedy trial claims as to any
such offenses.

(4) The government may use against the defendant the
defendant's own admissions and statements and the information and books,
papers, documents, and objects that the defendant has furnished in the course
of the defendant's cooperation with the government.

(5) The defendant will not be permitted to withdraw the
guilty pleas to those counts to which defendant hereby agrees to plead in the
instant case but, in that event, defendant will be entitled to the sentencing
limitations, if any, set forth in this plea agreement, with regard to those counts
to which the defendant has pled; or in the alternative, at the option of the
United States, the United States may move the Court to declare this entire

plea agreement null and void.

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B. Standard Terms and Conditions
1. Restitution, Special Assessment and Fine

The defendant understands and agrees that the Court, in addition
to or in lieu of any other penalty, shall order the defendant to make restitution
to any victim of the offense, pursuant to 18 U.S.C. § 3663A, for all offenses
described in 18 U.S.C. § 3663A(c)(1); and the Court may order the defendant
to make restitution to any victim of the offense, pursuant to 18 U.S.C. § 3663,
including restitution as to all counts charged, whether or not the defendant
enters a plea of guilty to such counts, and whether or not such counts are
dismissed pursuant to this agreement. The defendant further understands that
compliance with any restitution payment plan imposed by the Court in no
way precludes the United States from simultaneously pursuing other statutory
remedies for collecting restitution (28 U.S.C. § 3003(b)(2)), including, but not
limited to, garnishment and execution, pursuant to the Mandatory Victims
Restitution Act, in order to ensure that the defendant's restitution obligation is
satisfied.

On each count to which a plea of guilty is entered, the Court
shall impose a special assessment pursuant to 18 U.S.C. § 3013. To ensure
that this obligation is satisfied, the defendant agrees to deliver a cashier’s

check, certified check, or money order to the Clerk of the Court in the amount

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of $100, payable to "Clerk, U.S. District Court" within ten days of the change
of plea hearing. The defendant understands that this agreement imposes no
limitation as to fine.
2. Supervised Release
The defendant understands that the offense to which the
defendant is pleading provides for imposition of a term of supervised release
upon release from imprisonment, and that, if the defendant should violate the
conditions of release, the defendant would be subject to a further term of
imprisonment.
3. Immigration Consequences of Pleading Guilty
The defendant has been advised and understands that, upon
conviction, a defendant who is not a United States citizen may be removed.
from the United States, denied citizenship, and denied admission to the
United States in the future.
A, Sentencing Information
The United States reserves its right-and obligation to report to the
Court and the United States Probation Office all information concerning the
background, character, and conduct of the defendant, to provide relevant
factual information, including the totality of the defendant's criminal activities,

if any, not limited to the count to which defendant pleads, to respond to

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comments made by the defendant or defendant's counsel, and to correct any
misstatements or inaccuracies. The United States further reserves its right to
make any recommendations it deems appropriate regarding the disposition of
this case, subject to any limitations set forth herein, if any.

5. Financial Disclosures

Pursuant to 18 U.S.C. § 3664(d)(3) and Fed. R. Crim. P.

32(d)(2)(A)(ii), the defendant agrees to complete and submit to the United
States Attorney's Office within 30 days of execution of this agreement an
affidavit reflecting the defendant's financial condition. The defendant
promises that her financial statement and disclosures will be complete,
accurate and truthful and will include all assets in which she has any interest
or over which the defendant exercises control, directly or indirectly, including
those held by a spouse, dependent, nominee or other third party. The
defendant further agrees to execute any documents requested by the United
States needed to obtain from any third parties any records of assets owned by
the defendant, directly or through a nominee, and, by the execution of this
plea agreement, consents to the release of the defendant's tax returns for the
previous five years. The defendant similarly agrees and authorizes the United
States Attorney's Office to provide to, and obtain from, the United States

Probation Office, the financial affidavit, any of the defendant's federal, state,

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and local tax returns, bank records and any other financial information
concerning the defendant, for the purpose of making any recommendations to
the Court and for collecting any assessments, fines, restitution, or forfeiture
ordered by the Court. The defendant expressly authorizes the United States
Attorney's Office to obtain current credit reports in order to evaluate the
defendant's ability to satisfy any financial obligation imposed by the Court.
6. Sentencing Recommendations

It is understood by the parties that the Court is neither a party to
nor bound by this agreement. The Court may accept or reject the agreement,
or defer a decision until it has had an opportunity to consider the presentence
report prepared by the United States Probation Office. The defendant
understands and acknowledges that, although the parties are permitted to
make recommendations and present arguments to the Court, the sentence will
be determined solely by the Court, with the assistance of the United States
Probation Office. Defendant further understands and acknowledges that any
discussions between defendant or defendant's attorney and the attorney or
other agents for the government regarding any recommendations by the
government are not binding on the Court and that, should any
recommendations be rejected, defendant will not be permitted to withdraw

defendant's plea pursuant to this plea agreement. The government expressly

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reserves the right to support and defend any decision that the Court may make
with regard to the defendant's sentence, whether or not such decision is
consistent with the government's recommendations contained herein.
7. Defendant's Waiver of Right to Appeal the Sentence
The defendant agrees that this Court has jurisdiction and
authority to impose any sentence up to the statutory maximum and expressly
waives the right to appeal defendant's sentence on any ground, including the
ground that the Court erred in determining the applicable guidelines range
pursuant to the United States Sentencing Guidelines, except (a) the ground
that the sentence exceeds the defendant's applicable guidelines range as
determined by the Court pursuant to the United States Sentencing Guidelines;
(b) the ground that the sentence exceeds the statutory maximum penalty; or (c)
the ground that the sentence violates the Eighth Amendment to the
Constitution; provided, however, that if the government exercises its right to
appeal the sentence imposed, as authorized by 18 U.S.C. § 3742(b), then the
defendant is released from his waiver and may appeal the sentence as
authorized by 18 U.S.C. § 3742(a).
8. Middle District of Florida Agreement
It is further understood that this agreement is limited to the

Office of the United States Attorney for the Middle District of Florida and

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cannot bind other federal, state, or local prosecuting authorities, although this
office will bring defendant's cooperation, if any, to the attention of other
prosecuting officers or others, if requested.
9. Filing of Agreement
This agreement shall be presented to the Court, in open court or
in camera, in whole or in part, upon a showing of good cause, and filed in this
cause, at the time of defendant's entry of a plea of guilty pursuant hereto.
10. Voluntariness
The defendant acknowledges that defendant is entering into this
agreement and is pleading guilty freely and voluntarily without reliance upon
any discussions between the attorney for the government and the defendant
and defendant's attorney and without promise of benefit of any kind (other
than the concessions contained herein), and without threats, force,
intimidation, or coercion of any kind. The defendant further acknowledges
defendant's understanding of the nature of the offense or offenses to which
defendant is pleading guilty and the elements thereof, including the penalties
provided by law, and defendant's complete satisfaction with the representation
and advice received from defendant's undersigned counsel (if any). The
defendant also understands that defendant has the right to plead not guilty or

to persist in that plea if it has already been made, and that defendant has the

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right to be tried by a jury with the assistance of counsel, the right to confront
and cross-examine the witnesses against defendant, the right against
compulsory self-incrimination, and the right to compulsory process for the
attendance of witnesses to testify in defendant's defense; but, by pleading
guilty, defendant waives or gives up those rights and there will be no trial.
The defendant further understands that if defendant pleads guilty, the Court
may ask defendant questions about the offense or offenses to which defendant
pleaded, and if defendant answers those questions under oath, on the record,
and in the presence of counsel (if any), defendant's answers may later be used
against defendant in a prosecution for perjury or false statement. The
defendant also understands that defendant will be adjudicated guilty of the
offenses to which defendant has pleaded and, if any of such offenses are
felonies, may thereby be deprived of certain rights, such as the right to vote, to
hold public office, to serve on a jury, or to have possession of firearms.
11. Factual Basis

Defendant is pleading guilty because defendant is in fact guilty.
The defendant certifies that defendant does hereby admit that the facts set
forth in the attached "Factual Basis," which is incorporated herein by
reference, are true, and were this case to go to trial, the United States would be

able to prove those specific facts and others beyond a reasonable doubt.

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12. Entire Agreement

This plea agreement constitutes the entire agreement between the —
government and the defendant with respect to the aforementioned guilty plea
and no other promises, agreements, or representations exist or have been
made to the defendant or defendant's attorney with regard to such guilty plea.

13. Certification

The defendant and defendant's counsel certify that this plea
agreement has been read in its entirety by (or has been read to) the defendant
and that defendant fully understands its terms.

DATED this Sot day of October, 2020.

 

 

 

 

MARIA CHAPA LOPEZ
. United States Attorney
Qh Kiron. Mable
JAKELINE LUMUCSO Karen L. Gable
Defendant Assistant United States Attorney
David K. Haas Esquire Roger B. Handberg
ney for Defendant Assistant United States Attorney

Chief, Orlando Division

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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION
UNITED STATES OF AMERICA
V. | CASE NO. 6:20-cr-80-Orl-37DCI
JAKELINE LUMUCSO
PERSONALIZATION OF ELEMENTS
First: Did you agree with Petra Gomez and others to try to
accomplish a shared and unlawful plan?
Second: Did you know the unlawful purpose of the plan and
willfully join in it?
Third: Was the plan to submit false and fraudulent tax returns to

the IRS to obtain fraudulent tax refunds?

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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION
UNITED STATES OF AMERICA
v. CASE NO. 6:20-cr-80-Orl-37DCI
JAKELINE LUMUCSO
FACTUAL BASIS
Beginning on an unknown date, but at least by in or about January
2012, and continuing through at least June 2016, in the Middle District of
Florida and elsewhere, the defendant, Jakeline LUMUCSO, conspired with
her sister, Petra Gomez (Gomez), and others, to defraud the Internal Revenue
Service (“IRS”), by submitting false tax returns to obtain fraudulent tax
refunds through Gomez’s business, Universal Tax. Gomez and LUMUCSO
prepared and caused others to prepare false tax returns using the unauthorized
personal information of previous tax clients. They also prepared and caused
others to prepare fraudulent tax returns using false information regarding
income and deductions. LUMUCSO knew the unlawful purpose of the plan
and voluntarily joined in it.
Gomez was the owner of Universal Tax, LLC, also known as Universal

Tax Latino, LLC, a tax preparation business she established in 2010 as a sole

member LLC. LUMUCSO managed the day-to-day operations of Universal

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Tax at the direction of Gomez. Initially, Gomez operated Universal Tax from
an office located at 12315 West Colonial Drive, Winter Garden. In or about
2011, Gomez opened three more offices located at (1) 851 State Road 436,
Suite 1023, Altamonte Springs; (2) 5805 South Orange Blossom Trail,
Orlando; and (3) 6412 West Colonial Drive, Orlando. Gomez also briefly
operated an office in Tampa, Florida. Gomez and LUMUCSO hired
individuals to prepare tax returns at each of the locations. Gomez instructed
LUMUCSO to hire individuals who had no tax preparation experience and
who spoke Spanish.

Gomez and LUMUCSO obtained Electronic Filing Identification
Numbers (“EFIN”) from the IRS for each of Universal Tax’s office locations,
which authorized Universal Tax to participate in the IRS’s e-file program and
electronically file tax returns from each of its locations. Gomez marketed
Universal Tax to the Latino community, and many of her tax clients were
undocumented and nonresident aliens. Gomez also traveled to agricultural
farms in Georgia and Florida and prepared false tax returns for foreign
workers, which she filed through Universal Tax. In addition to preparing tax
returns, Gomez and LUMUCSO also prepared and caused others to prepare
and submit applications for Individual Taxpayer Identification Numbers

(“ITIN”) to the IRS. An ITIN was a processing number that enabled

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undocumented and nonresident aliens who worked in the United States to file
tax returns and obtain tax refunds. The ITIN was a unique nine-digit number
with the format 9xx-xx-xxxx. Gomez and LUMUCSO submitted and caused
others to submit false utility and other residency documents to the IRS to
obtain ITINs for their clients.

Gomez charged about $50 to prepare an ITIN application and
approximately $300 to prepare a tax return. On Universal Tax’s facebook
page and on signage outside of her offices, Gomez advertised “100% Refund
Guarantee.” Gomez and LUMUCSO, acting at Gomez’s direction, placed
instruction sheets at each of the computers in the offices containing items that
could be added to a tax return to make the refund higher, such as dependents.

Beginning in about 2012, Gomez and LUMUCSO, acting at Gomez’s
direction, also instructed employees to file fraudulent tax returns for previous
Universal Tax clients without their consent. Gomez instructed preparers to
submit the false returns when the IRS filing season opened, and provided them
with false W-2s, IDs and dependent information to use on the returns to
generate tax refunds. Gomez directed employees to use the names and ITINs
of previous clients without their consent on the returns. Ifa client returned to

have Universal Tax prepare a tax return, Gomez and LUMUCSO instructed

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the preparers to lie to the client and state that a return had already been
prepared and filed due to a computer glitch.

Gomez processed tax refunds through a third-party processor, and
LUMUCSO was responsible for printing the tax refund checks, after the IRS
notified the processor that the IRS had issued the refund. The processor
deducted Universal Tax’s tax preparation fee from the refund and deposited
the refunds into Universal Tax’s business account. LUMUCSO and others
placed the fraudulently obtained refund checks in lock boxes, and Gomez and
other unindicted co-conspirators fraudulently cashed the unclaimed refund
checks at check cashing businesses located in Ocala and other areas in central
Florida.

On January 27, 2014, Universal Tax filed a false 2013 tax return using
MG's name and ITIN without M.G.’s consent. Previously, Universal Tax
prepared M.G.s 2011 and 2012 tax returns, but M.G. went to a different
preparer to have M.G.’s 2013 tax return prepared. The IRS rejected the
return, because Universal Tax had already filed a 2013 tax return using M.G.’s
personal information without M.G.’s consent. M.G. confirmed that the W-2
and wage information on the return were false and M.G. did not receive the

tax refund.

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Similarly, on February 7, 2014, Universal Tax filed a false joint 2013
tax return using the personal information belonging to G.C. and N.G. without
their consent. The return listed LUMUCSO as the preparer and was filed
from the Winter Garden office. The victims previously had their 2011 and
2012 tax returns prepared at Universal Tax, but decided not to have Universal
Tax prepare their 2013 tax return, because the IRS flagged their 2012 tax
return as false. G.C. and N.G. confirmed that the W-2 and wage information
on the 2013 return were false and that they did not receive the refund.

On January 28, 2014, Gomez prepared and filed a false 2013 tax return
using the personal information belonging to J P, who lived in Georgia.
Gomez filed the return from the Winter Garden office. Gomez previously
prepared J.P.’s 2012 tax return when she traveled to Georgia to prepare
returns. J.P. confirmed that the wage and dependent information on the 2013
return were false and that the W-2 attached to the 2013 return was false. J.P.
notified the state police, who then notified the IRS.

On or about April 22, 2014, the IRS suspended Gomez and Universal
Tax from participating in the IRS’s e-file program for filing fraudulent tax
returns and revoked Universal Tax’s EFINs. Thereafter, in or about May
2014, Gomez and LUMUCSO changed Universal Tax’s name to Universal

Financial, Inc., and listed Universal Tax’s Winter Garden office as Universal

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Financial’s principal address with the State of Florida. Between in or about
June 2014, and in or about July 2014, LUMUCSO obtained EFINs for
Universal Tax’s office locations using the name Universal Financial, Inc.
LUMUCSO listed herself as the principal of the business and the primary
contact on the EFIN application. Gomez and LUMUCSO continued to
operate Universal Tax and e-file false tax returns to the IRS using Universal
Financial’s EFINS.

In or about October 2015, the IRS suspended LUMUCSO and
Universal Financial, Inc., from participating in the IRS’s e-file program and
revoked Universal Financial’s EFINs due to fraud. On or about October 26,
2015, Gomez and LUMUCSO used a nominee to incorporate Resurrection
Tax, Inc., a shell corporation, and listed Universal Tax’s Winter Garden office
address as Resurrection Tax’s principal address with the State of Florida.. On
or about November 5, 2015, Gomez and LUMUCSO, using an individual
nominee, applied for, and obtained an EFIN for Universal Tax’s Winter
Garden office in the name Resurrection Tax, Inc. Gomez and LUMUCSO
listed the nominee as the principal of the business and the primary contact on
the EFIN application and continued to file false tax returns.

On or about October 26, 2015, Gomez and LUMUCSO used a

nominee to incorporate Living Faith Tax, Inc., a shell corporation, and listed

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Universal Tax’s South Orange Blossom Trail office address as Living Faith
Tax’s principal address with the State of Florida. On or about November 3,
2015, Gomez and LUMUCSO, using a nominee, applied for, and obtained an
EFIN for Universal Tax’s South Orange Blossom Trail office in the name
Living Faith Tax, Inc. Gomez and LUMUCSO listed the nominee as the
principal of the business and the primary contact on the EFIN application.

On or about October 27, 2015, Gomez and LUMUCSO used a
nominee to incorporate Living Hope Tax, Inc., a shell corporation, and listed
Universal Tax’s Altamonte Springs office address as Living Hope Tax’s
principal address with the State of Florida. On or about November 6, 2015,
Gomez and LUMUCSO, using a nominee, applied for, and obtained an EFIN
for Universal Tax’s Altamonte Springs office in the name of Living Hope Tax,
Inc. Gomez and LUMUCSO listed the nominee as the principal of the
business and the primary contact on the EFIN application.

During the period 2013 and 2014, Gomez built luxury homes for herself
and for LUMUCSO and paid more than $1 million in cash for her home and
more than $800,000 for LUMUCSO’s home. Gomez also previously paid
LUMUCSO about $250,000 in commissions.

Gomez and LUMUCSO, through Universal Tax and its nominees,

submitted or caused the submission of about 7234 false tax returns claiming

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refunds to the IRS. The fraud loss is more than $9.5 million and less than $25

million dollars.

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